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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                    4:06CR3016
                                            )
              v.                            )
                                            )
ARMANDO GARCIA-DELACRUZ,                    )        ORDER GRANTING IN FORMA
                                            )        PAUPERIS STATUS ON APPEAL
                     Defendants.            )
                                            )


        IT IS ORDERED that the defendant, Armando Garcia-Delacruz, is permitted to proceed on
appeal in forma pauerpis.

       Dated October 31, 2011.

                                   BY THE COURT

                                   s/ Warren K. Urbom
                                   United States Senior District Judge
